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                                                   UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF TEXAS
                                                          SHERMAN DIVISION


In re:                                                                   §
INTERPHASE CORPORATION                                                   §           Case No. 15-41732
                                                                         §
                                                                         §
                                            Debtors(s)                   §

                                                       TRUSTEE’S FINAL REPORT (TFR)

            The undersigned trustee hereby makes this Final Report and states as follows:
            1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 09/30/2015. The
         undersigned trustee was appointed on 09/30/2015.
            2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.
            3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
         exempt property pursuant to 11 U.S.C. §522, or have been or will be abandoned pursuant to 11 U.S.C. §554.
         An individual estate property record and report showing the disposition of all property of the estate is
         attached as Exhibit A.
            4. The trustee realized gross receipts of                                         $               3,057,373.00
                Funds were disbursed in the following amounts:
                 Payments made under an interim disbursement                                                             0.00
                 Administrative Expenses                                                                           511,878.14
                 Bank Service Fees                                                                                  67,214.90
                 Other Payments to Creditors                                                                        72,729.81
                 Non-Estate funds paid to 3rd Parties                                                                    0.00
                 Exemptions paid to the Debtor                                                                           0.00
                 Other Payments to Debtor                                                                                0.00
                 Leaving a balance on hand of 1                                               $               2,405,550.15




1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement will
be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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The remaining funds are available for distribution.

            5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.
             6. The deadline for filing non-governmental claims in this case was 02/16/2016 and the deadline for
       filing governmental claims was 05/16/2016. All claims of each class which will receive a distribution have
       been examined and any objections to the allowance of claims have been resolved. If applicable, a claims
       analysis, explaining why payment on any claim is not being made, is attached as Exhibit C.

            7. The Trustee’s proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. §326(a), the maximum compensation allowable to the trustee is $87,428.27.
       To the extent that additional interest is earned before case closing, the maximum compensation may
       increase.
      The trustee has received $0.00 as interim compensation and now requests a sum of $87,428.27, for a
total compensation of $87,428.27. In addition, the trustee received reimbursement for reasonable and
necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of $6,228.48 for
total expenses of $6,228.48
     Pursuant to Fed. R. Bank. P. 5009, I hereby certify, under penalty of perjury, that the foregoing report is
true and correct.


        Date :       04/11/2018                                    By :     /s/ Mark A. Weisbart
                                                                            Trustee



    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4 (a)(2) applies.




2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                                 FORM 1
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                               ASSET CASES
                Case No: 15-41732                                       Judge: Brenda Rhoades                                                       Trustee Name:     Mark A. Weisbart
             Case Name: INTERPHASE CORPORATION                                                                                     Date Filed (f) or Converted (c):   09/30/2015 (f)
                                                                                                                                            341(a) Meeting Date:      11/09/2015
      For Period Ending: 04/11/2018                                                                                                               Claims Bar Date:    02/16/2016

                                       1                                                2                         3                       4                            5                            6
                                                                                                             Est Net Value
                                                                                                         (Value Determined by                                                            Asset Fully Administered
                                                                                                                                   Property Formally
                                Asset Description                              Petition/Unscheduled       Trustee, Less Liens,                             Sale/Funds Received by          (FA) / Gross Value of
                                                                                                                                      Abandoned
                    (Scheduled and Unscheduled (u) Property)                           Values                 Exemptions,                                        the Estate                  Remaining Assets
                                                                                                                                      OA=554(a)
                                                                                                           and Other Costs)
1.      Texas Capital Bank Account                                                     1,214,133.59              1,936,003.73                                          1,946,794.91                FA
2.      Security deposit with Atmos Energy                                                      350.00                     0.00                                                  0.00              FA
3.      Security deposit with Denley Management Company (l                                  43,374.00                      0.00                                                  0.00              FA
4.      Chubb Insurance Policy (renews on 10/1/15-no curre                                    Unknown                      0.00                                                  0.00              FA
5.      Liberty International and Wesco D&O Insurance-tail                                    Unknown                      0.00                                                  0.00              FA
6.      MetLife-disability policy (Policy #210 391 792)                                       Unknown                      0.00                                                  0.00              FA
7.      Provident Life & Accident Co.-disability policy (P                                    Unknown                      0.00                                                  0.00              FA
8.      Kettlizt Wulfse-policy for William Kerkmeijer-empl                                    Unknown                      0.00                                                  0.00              FA
9.      Interphase SAS, international corporation 57 Espla                                    Unknown                      0.00                                                  0.00              FA
10.     Interphase International Corporation-100% owned su                                        0.00                     0.00                                                  0.00              FA
11.     Accounts Receivable                                                              852,362.17                800,000.00                                              816,118.45              FA
12.     Penveu patents (further information to be provided                               364,967.86                        0.00                                                  0.00              FA
13.     Furniture, equipment, etc.                                                          32,478.79                 53,000.00                                             53,000.00              FA
14.     Machinery, equipment, etc.                                                          89,023.09                 99,265.67                                             99,265.67              FA
15.     Raw materials, semi-finished/finished goods                                    2,656,730.69                   40,160.00                                             40,160.00              FA
16.     Pre-paid invoices/services                                                          31,000.00                      0.00                                                  0.00              FA
17.     Insurance Policy Refund (u)                                                               0.00                14,805.78                                             14,805.78              FA
18.     Copystar Copier (u)                                                                       0.00                     0.00          OA                                      0.00              FA
19.     Spectrum VOIP Phones (u)                                                                  0.00                     0.00          OA                                      0.00              FA
20.     Insurance Policy Refund (u)                                                               0.00                  171.53                                                171.53               FA



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                                                                                                        FORM 1
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                                                                                                      ASSET CASES
               Case No: 15-41732                                                Judge: Brenda Rhoades                                                               Trustee Name:     Mark A. Weisbart
            Case Name: INTERPHASE CORPORATION                                                                                                      Date Filed (f) or Converted (c):   09/30/2015 (f)
                                                                                                                                                            341(a) Meeting Date:      11/09/2015
      For Period Ending: 04/11/2018                                                                                                                               Claims Bar Date:    02/16/2016

                                        1                                                         2                           3                           4                            5                            6
                                                                                                                        Est Net Value
                                                                                                                    (Value Determined by                                                                 Asset Fully Administered
                                                                                                                                                   Property Formally
                               Asset Description                                       Petition/Unscheduled          Trustee, Less Liens,                                  Sale/Funds Received by          (FA) / Gross Value of
                                                                                                                                                      Abandoned
                   (Scheduled and Unscheduled (u) Property)                                    Values                    Exemptions,                                             the Estate                  Remaining Assets
                                                                                                                                                      OA=554(a)
                                                                                                                      and Other Costs)
21.    Electronic Backup Tapes (u)                                                                        0.00                         0.00              OA                                     0.00               FA
22.    Gardere Wynn Sewell Retainer Balance (u)                                                           0.00                     9,173.30                                                 9,173.30               FA
       per Docket #84
23.    Computers (u)                                                                                      0.00                      763.50                                                   763.50                FA
24.    2015 California Tax Refund (u)                                                                     0.00                      621.35                                                   621.35                FA
25.    401K Plan Excess Proceeds (u)                                                                      0.00                    29,964.21                                                29,964.21               FA
26.    Storage Unit Deposit Refund (u)                                                                    0.00                        20.00                                                   20.00                FA
27.    Remnant Assets (u)                                                                                 0.00                    40,000.00                                                40,000.00               FA
28.    Refund of Patent Examination Fee (u)                                                               0.00                     6,514.30                                                 6,514.30               FA
29.    Various Patents Abandoned by Trustee (u)                                                           0.00                         0.00              OA                                     0.00               FA

                                                                                                                                                                                                 Gross Value of Remaining Assets

  TOTALS (Excluding Unknown Values)                                                            5,284,420.19                3,030,463.37                                                3,057,373.00                          0.00




  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Note to TFR: pursuant to Court order of 2/5/18 [dkt #193] surplus funds paid to Debtor are to be paid to The Garden City Group and The Garden City Group will distribute surplus funds to shareholders.




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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES
           Case No: 15-41732                                        Judge: Brenda Rhoades                                                     Trustee Name:     Mark A. Weisbart
        Case Name: INTERPHASE CORPORATION                                                                                    Date Filed (f) or Converted (c):   09/30/2015 (f)
                                                                                                                                      341(a) Meeting Date:      11/09/2015
  For Period Ending: 04/11/2018                                                                                                             Claims Bar Date:    02/16/2016

                                  1                                                2                        3                       4                            5                            6
                                                                                                       Est Net Value
                                                                                                   (Value Determined by                                                            Asset Fully Administered
                                                                                                                             Property Formally
                           Asset Description                              Petition/Unscheduled      Trustee, Less Liens,                             Sale/Funds Received by          (FA) / Gross Value of
                                                                                                                                Abandoned
               (Scheduled and Unscheduled (u) Property)                           Values                Exemptions,                                        the Estate                  Remaining Assets
                                                                                                                                OA=554(a)
                                                                                                     and Other Costs)


Initial Projected Date of Final Report(TFR) : 12/31/2016             Current Projected Date of Final Report(TFR) : 06/30/2018


Trustee’s Signature       /s/Mark A. Weisbart                Date: 04/11/2018
                          Mark A. Weisbart
                          12770 Coit Road, Suite 541
                          Dallas, TX 75251
                          Phone : (972) 628-4903




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                             Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                  Bank Name: First National Bank of Vinita
                                                                                                                                        Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                              Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                              Separate bond (if applicable): 2,750,000.00

    1                   2                            3                                                 4                                           5                       6                   7
                                                                                                                            Uniform
Transaction         Check or                                                                                                 Trans.                                                        Account/ CD
   Date             [Refer#]              Paid To / Received From                         Description of Transaction         Code             Deposits($)       Disbursements($)            Balance($)
10/21/2015             [1]      Texas Capital Bank                              Bank Account Balance                        1129-000           1,936,003.73                                  1,936,003.73


10/22/2015            [11]      Conexis                                         Accounts Recivable                          1121-000                1,505.57                                 1,937,509.30


10/29/2015            [11]      Desoto Independent School District              Accounts Receivable                         1121-000                5,795.91                                 1,943,305.21


10/30/2015           10001      Cirro Energy                                    Acct # 11 575 672-8                         2420-000                                         7,669.74        1,935,635.47
                                U.S. Retailers, LLC
                                PO Box 660004
                                Dallas , TX 75266-0004

11/06/2015            [11]      American Express                                Accounts Receivable                         1121-000                   649.37                                1,936,284.84


11/06/2015                      First National Bank of Vinita                   BANK SERVICE FEE                            2600-000                                           730.43        1,935,554.41


11/10/2015           10002      International Sureties, LTD.                    Bond #016067632                             2300-000                                         5,000.00        1,930,554.41
                                701 Poydras Street, Suite 420
                                New Orleans , LA 70139

11/10/2015           10003      Cirro Energy                                    Acct # 11 575 672-8                         2420-000                                         5,139.53        1,925,414.88
                                U.S. Retailers, LLC
                                PO Box 660004
                                Dallas , TX 75266-0004

                                                                                                                       Page Subtotals          1,943,954.58                18,539.70




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                             Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                  Bank Name: First National Bank of Vinita
                                                                                                                                        Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                              Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                              Separate bond (if applicable): 2,750,000.00

    1                   2                              3                                                 4                                         5                       6                   7
                                                                                                                            Uniform
Transaction         Check or                                                                                                 Trans.                                                        Account/ CD
   Date             [Refer#]             Paid To / Received From                          Description of Transaction         Code             Deposits($)       Disbursements($)            Balance($)
11/30/2015           10004      Progressive Waste Solutions of TX, Inc.         Customer ID 015100944                       2420-000                                           503.64        1,924,911.24
                                PO Box 650592
                                Dallas , Texas 75265-0592

12/07/2015                      First National Bank of Vinita                   BANK SERVICE FEE                            2600-000                                         1,984.18        1,922,927.06


12/09/2015           10005      Digital Discovery                               Project # 20151010-WIC                      2420-000                                       26,500.00         1,896,427.06
                                8131 LBJ Freeway, Suite 325
                                Dallas , Texas 75251

12/14/2015            [17]      Cigna Health and Life Insurance Company Insurance Policy Refund                             1229-000               14,805.78                                 1,911,232.84


*12/14/2015          10006      Dallas Security Systems, Inc.                   Acct #6472 Inv. #8724811                    2420-000                                           132.50        1,911,100.34
                                PO Box 550939
                                Dallas , TX 75355-0939

12/20/2015           10007      Cut 2 Shreds                                    Invoice #6729121815                         2420-000                                         3,140.00        1,907,960.34
                                6315 Linden Lane
                                Dallas , Texas 75230

12/20/2015           10008      Rodger Salsman                                  Invoice #103151                             2420-000                                           100.00        1,907,860.34
                                1505 Golden Gate Dr                             Boxes/Trash Removal
                                Carrollton , Texas 75007

12/21/2015            [11]      Texas Capital Bank                              Accounts Receivable                         1121-000             181,908.53                                  2,089,768.87



                                                                                                                       Page Subtotals            196,714.31                32,360.32




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                            Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                 Bank Name: First National Bank of Vinita
                                                                                                                                       Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                             Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                             Separate bond (if applicable): 2,750,000.00

    1                   2                           3                                               4                                             5                       6                   7
                                                                                                                           Uniform
Transaction         Check or                                                                                                Trans.                                                        Account/ CD
   Date             [Refer#]            Paid To / Received From                       Description of Transaction            Code             Deposits($)       Disbursements($)            Balance($)
01/04/2016            [11]      IBM                                         Accounts Receivable                            1121-000                   54.67                                 2,089,823.54


01/04/2016           10009      Progressive Waste Solutions of TX, Inc.     Customer ID 015100944                          2420-000                                           264.95        2,089,558.59
                                PO Box 650592
                                Dallas , Texas 75265-0592

01/04/2016           10010      Cirro Energy                                Acct # 11 575 672-8                            2420-000                                         4,300.67        2,085,257.92
                                U.S. Retailers, LLC
                                PO Box 660004
                                Dallas , TX 75266-0004

01/05/2016           10011      International Sureties, LTD.                Bond #016067632                                2300-000                                           418.00        2,084,839.92
                                701 Poydras Street, Suite 420
                                New Orleans , LA 70139

01/06/2016            [11]      United Concordia                            Accounts Receivable                            1121-000                2,366.40                                 2,087,206.32


01/06/2016                      Shattuck LLC                                Sale of FF&E                                                        152,265.67                                  2,239,471.99


                      [13]                                                                                     53,000.00   1129-000

                      [14]                                                                                     99,265.67   1129-000

01/08/2016           10012      International Sureties, LTD.                Bond #016067632                                2300-000                                           616.00        2,238,855.99
                                701 Poydras Street, Suite 420
                                New Orleans , LA 70139

                                                                                                                      Page Subtotals            154,686.74                  5,599.62




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                                      Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                           Bank Name: First National Bank of Vinita
                                                                                                                                                 Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                                       Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                                       Separate bond (if applicable): 2,750,000.00

    1                   2                            3                                                  4                                                   5                       6                     7
                                                                                                                                    Uniform
Transaction         Check or                                                                                                         Trans.                                                           Account/ CD
   Date             [Refer#]             Paid To / Received From                          Description of Transaction                 Code              Deposits($)       Disbursements($)              Balance($)
01/08/2016                      First National Bank of Vinita                   BANK SERVICE FEE                                    2600-000                                          2,099.18          2,236,756.81


01/13/2016           10013      Coverall of Dallas/Ft. Worth                    Acct # 744-3130                                     2420-000                                             811.88         2,235,944.93
                                9101 LBJ Frwy #700                              Invoice # 7440082368
                                Dallas , Texas 75243

01/26/2016           10014      Atmos Energy Corporation                        Acct No. 3046699580                                 2420-000                                             763.88         2,235,181.05
                                                                                Service Address: 4240 International Pkwy, Ste
                                                                                105Carrollton, TX 75007



*01/29/2016                     Reverses Check # 10006                          Acct #6472 Inv. #8724811                            2420-000                                            (132.50)        2,235,313.55
                                                                                Check returned from payee $0 due

02/02/2016           10015      Cirro Energy                                    Acct # 11 575 672-8                                 2420-000                                          3,600.39          2,231,713.16
                                U.S. Retailers, LLC
                                PO Box 660004
                                Dallas , TX 75266-0004

02/05/2016                      First National Bank of Vinita                   BANK SERVICE FEE                                    2600-000                                          2,919.52          2,228,793.64


02/09/2016           10016      Digital Discovery                               Invoice # 2494                                      2420-000                                          7,500.00          2,221,293.64
                                8131 LBJ Freeway, Suite 325
                                Dallas , Texas 75251

02/29/2016           10017      Shattuck LLC                                    Auctioneer Expenses                                 3620-000                                        13,403.42           2,207,890.22
                                650 Canion Street
                                Austin , Texas 78752

                                                                                                                                Page Subtotals                   0.00               30,965.77




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                         Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                              Bank Name: First National Bank of Vinita
                                                                                                                                    Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                          Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                          Separate bond (if applicable): 2,750,000.00

    1                   2                            3                                                4                                        5                       6                   7
                                                                                                                        Uniform
Transaction         Check or                                                                                             Trans.                                                        Account/ CD
   Date             [Refer#]             Paid To / Received From                      Description of Transaction         Code             Deposits($)       Disbursements($)            Balance($)
03/07/2016            [20]      Employees Group Life                        Insurance Policy Refund                     1229-000                   22.84                                 2,207,913.06


03/07/2016                      First National Bank of Vinita               BANK SERVICE FEE                            2600-000                                         2,212.04        2,205,701.02


03/17/2016           10018      Denley Investment and Management Co.        November Rent                               2410-000                                       53,331.69         2,152,369.33
                                5550 LBJ Freeway, Suite 300
                                Dallas , Texas 75240

03/17/2016           10019      Buehler Transfer & Storage                  Storage Unit                                2420-000                                           660.00        2,151,709.33
                                633 Mony Street                             Invoice # 11760
                                Fort Worth , Texas 76102

03/17/2016           10020      Mark A. Weisbart                            Reimbursement of Expenses                   2420-000                                         1,887.54        2,149,821.79
                                12770 Coit Road, Suite 541
                                Dallas , TX 75251

04/05/2016           10021      Buehler Transfer & Storage                  Storage Unit                                2420-000                                           660.00        2,149,161.79
                                633 Mony Street                             Invoice #12779Customer #292727
                                Fort Worth , Texas 76102

04/07/2016                      First National Bank of Vinita               BANK SERVICE FEE                            2600-000                                         2,325.01        2,146,836.78


04/08/2016           10022      Digital Discovery                           Project # 20151010-WIC                      2420-000                                         7,500.00        2,139,336.78
                                8131 LBJ Freeway, Suite 325
                                Dallas , Texas 75251

                                                                                                                   Page Subtotals                  22.84               68,576.28




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                               Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                    Bank Name: First National Bank of Vinita
                                                                                                                                          Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                                Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                                Separate bond (if applicable): 2,750,000.00

    1                   2                           3                                                 4                                              5                       6                   7
                                                                                                                             Uniform
Transaction         Check or                                                                                                  Trans.                                                         Account/ CD
   Date             [Refer#]            Paid To / Received From                       Description of Transaction              Code              Deposits($)       Disbursements($)            Balance($)
04/12/2016           10023      Mark A. Weisbart                            Reimbursement of Expenses-storage                2420-000                                            208.00        2,139,128.78
                                12770 Coit Road, Suite 541                  Dallas Storage 03/15/16
                                Dallas , TX 75251

04/12/2016           10024      Security Self Storage                       Unit T-02                                        2420-000                                            208.00        2,138,920.78
                                8600 Spring Valley                          April 2016 Storage Unit Rental
                                Dallas , Texas 75240

04/13/2016            [20]      Employees Group Life                        Insurance Policy Refund                          1229-000                    148.69                                2,139,069.47


04/26/2016           10026      City of Carrollton                          Claim #000005                                    5800-000                                        17,234.19         2,121,835.28
                                2777 N. Stemmons Freeway, Suite 1000        2015 Ad Valorem TaxesAccount No. 653846DEN
                                Dallas , TX 75207

*04/26/2016          10027      The County of Denton, Texas                 Claim #000001                                    5800-000                                          7,296.66        2,114,538.62
                                P.O. Box 1269                               2015 Ad Valorem TaxesAccount No. 653846DEN
                                Round Rock , Texas 78680-1269

04/26/2016           10028      Denton County Tax Assessor-Collector        Claim #000001                                    5800-000                                          7,296.66        2,107,241.96
                                P.O. Box 1269                               2015 Ad Valorem TaxesAccount No. 653846DEN
                                Round Rock , Texas 78680-1269

*04/26/2016                     Reverses Check # 10027                      Claim #000001                                    5800-000                                        (7,296.66)        2,114,538.62
                                                                            Incorrect payee

04/27/2016           10029      Denton County Tax Assessor-Collector        2015 Ad Valorem Taxes                            5800-000                                        39,928.84         2,074,609.78
                                PO Box 90223                                Account No. 653846DEN(Lewisville ISD)
                                Denton , Texas 76202

                                                                                                                         Page Subtotals                  148.69              64,875.69




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                 Case No: 15-41732                                                                                                         Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                              Bank Name: First National Bank of Vinita
                                                                                                                                    Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                          Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                          Separate bond (if applicable): 2,750,000.00

    1                   2                            3                                              4                                          5                       6                   7
                                                                                                                        Uniform
Transaction         Check or                                                                                             Trans.                                                        Account/ CD
   Date             [Refer#]             Paid To / Received From                      Description of Transaction         Code             Deposits($)       Disbursements($)            Balance($)
04/28/2016           10030      ExponentHR                                  Invoice # 54408                             3410-000                                         1,525.71        2,073,084.07
                                Attn: Accounts Receivable
                                4970 Landmark Place
                                Dallas , Texas 75254

04/29/2016            [22]      Gardere Wynn Sewell LLP                     Retainer Balance-Gardere Wynn               1229-000                9,173.30                                 2,082,257.37


05/06/2016                      First National Bank of Vinita               BANK SERVICE FEE                            2600-000                                         2,204.51        2,080,052.86


05/10/2016           10025      Security Self Storage                       Unit T-02                                   2420-000                                           208.00        2,079,844.86
                                8600 Spring Valley                          May 2016 Storage Unit Rental
                                Dallas , Texas 75240

05/26/2016           10031      Buehler Transfer & Storage                  Invoice # 14085                             2420-000                                           330.00        2,079,514.86
                                633 Mony Street
                                Ft Worth , Texas 76102

06/06/2016            [15]      Shattuck LLC                                Sale of Penvue Inventory & Chips            1129-000               39,775.00                                 2,119,289.86


06/07/2016                      First National Bank of Vinita               BANK SERVICE FEE                            2600-000                                         2,220.80        2,117,069.06


06/08/2016           10032      Security Self Storage                       Unit T-02                                   2420-000                                           208.00        2,116,861.06
                                8600 Spring Valley                          June 2016 Storage Unit Rental
                                Dallas , Texas 75240

                                                                                                                   Page Subtotals              48,948.30                 6,697.02




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                        Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                             Bank Name: First National Bank of Vinita
                                                                                                                                   Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                         Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                         Separate bond (if applicable): 2,750,000.00

    1                   2                            3                                             4                                          5                       6                   7
                                                                                                                       Uniform
Transaction         Check or                                                                                            Trans.                                                        Account/ CD
   Date             [Refer#]             Paid To / Received From                     Description of Transaction         Code             Deposits($)       Disbursements($)            Balance($)
06/22/2016            [23]      Shattuck LLC                               Sale of Computers                           1229-000                   763.50                                2,117,624.56


07/08/2016                      First National Bank of Vinita              BANK SERVICE FEE                            2600-000                                         2,168.83        2,115,455.73


07/11/2016           10033      Security Self Storage                      Unit T-02                                   2420-000                                           208.00        2,115,247.73
                                8600 Spring Valley                         July 2016 Storage Unit Rental
                                Dallas , Texas 75240

07/19/2016           10034      Shattuck LLC                               Auctioneer Expenses                         3620-000                                         1,189.23        2,114,058.50
                                650 Canion Street
                                Austin , Texas 78752

08/05/2016                      First National Bank of Vinita              BANK SERVICE FEE                            2600-000                                         2,246.08        2,111,812.42


08/10/2016           10035      Security Self Storage                      Unit T-02                                   2420-000                                           208.00        2,111,604.42
                                8600 Spring Valley                         April 2016 Storage Unit Rental
                                Dallas , Texas 75240

09/06/2016                      Transfer to Texas Capital Bank                                                         9999-000                                 2,111,604.42                     0.00


                                                                                                                  Page Subtotals                  763.50        2,117,624.56




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                 Case No: 15-41732                                                                                                        Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                             Bank Name: First National Bank of Vinita
                                                                                                                                   Account Number/CD#: ******3101 Checking Account
       Taxpayer ID No: **-***9797                                                                                         Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                         Separate bond (if applicable): 2,750,000.00

    1                   2                         3                                          4                                                5                       6                 7
                                                                                                                       Uniform
Transaction         Check or                                                                                            Trans.                                                      Account/ CD
   Date             [Refer#]            Paid To / Received From                  Description of Transaction             Code             Deposits($)       Disbursements($)          Balance($)

                                                                                                                  Page Subtotals


                                                                                           COLUMN TOTALS                                  2,345,238.96          2,345,238.96
                                                                                                    Less:Bank Transfer/CD's                        0.00         2,111,604.42
                                                                                           SUBTOTALS                                      2,345,238.96            233,634.54

                                                                                                  Less: Payments to Debtors                                               0.00
                                                                                           Net                                            2,345,238.96            233,634.54




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                 Case No: 15-41732                                                                                                                    Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                                     Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                                     Separate bond (if applicable): 2,750,000.00

    1                   2                           3                                                4                                                   5                        6                   7
                                                                                                                                   Uniform
Transaction         Check or                                                                                                        Trans.                                                        Account/ CD
   Date             [Refer#]            Paid To / Received From                        Description of Transaction                   Code            Deposits($)       Disbursements($)             Balance($)
09/06/2016                      Transfer from FNB of Vinita                                                                        9999-000           2,111,604.42                                  2,111,604.42


09/07/2016           52001      Anderson & Levine, L.L.P.                    Special Counsel Fees and Expenses                                                                      5,548.37        2,106,056.05
                                14785 Preston Road
                                Suite 650
                                Dallas, TX 75254

                                                                                                                      (2,310.00)   3210-600

                                                                                                                      (3,238.37)   3220-610

09/09/2016           52002      Security Self Storage                        Unit T-02 September 2016 Storage Unit Rental          2420-000                                           208.00        2,105,848.05
                                8600 Spring Valley
                                Dallas , Texas 75240

10/03/2016                      Texas Capital Bank                           Bank Service Fee                                      2600-000                                         1,804.92        2,104,043.13
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

10/07/2016            [11]      VirTex Enterprises, LP                       Settlement of VirTex Enterprises Claim                1121-000             623,838.00                                  2,727,881.13


10/07/2016             [1]      Interphase Corporation                       Debtor's Texas Capital Bank Account Balance-          1129-000              10,791.18                                  2,738,672.31
                                                                             Incoming Transfer

10/13/2016           52003      Security Self Storage                        Unit T-02 October Storage Unit Rental                 2420-000                                           208.00        2,738,464.31
                                8600 Spring Valley
                                8600 Spring Valley
                                Dallas, TX 75240

                                                                                                                              Page Subtotals          2,746,233.60                  7,769.29



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                 Case No: 15-41732                                                                                                         Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                          Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                          Separate bond (if applicable): 2,750,000.00

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                                                                                                                       Uniform
Transaction         Check or                                                                                            Trans.                                                         Account/ CD
   Date             [Refer#]            Paid To / Received From                     Description of Transaction          Code             Deposits($)       Disbursements($)             Balance($)
10/20/2016           52004      International Sureties, LTD.              Trustee Bond                                 2300-000                                          6,517.00        2,731,947.31
                                701 Poydras Street, Suite 420
                                New Orleans , LA 70139

11/03/2016                      Texas Capital Bank                        Bank Service Fee                             2600-000                                          2,686.07        2,729,261.24
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

11/08/2016           52005      Security Self Storage                     Unit T-02 November Storage Unit Rental       2420-000                                            208.00        2,729,053.24
                                8600 Spring Valley
                                Dallas , Texas 75240

11/08/2016           52006      Digital Discovery                         Invoice # 2659                               2420-000                                          7,500.00        2,721,553.24
                                8131 LBJ Freeway, Suite 325
                                Dallas , Texas 75251

12/05/2016                      Texas Capital Bank                        Bank Service Fee                             2600-000                                          2,800.51        2,718,752.73
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

12/06/2016           52007      Digital Discovery                         Invoice # 2796                               2420-000                                          7,500.00        2,711,252.73
                                8131 LBJ Freeway, Suite 325
                                Dallas , Texas 75251

12/08/2016           52008      Security Self Storage                     Unit T-02 December Storage Unit Rental       2420-000                                            208.00        2,711,044.73
                                8600 Spring Valley
                                Dallas , Texas 75240

                                                                                                                   Page Subtotals                  0.00                27,419.58




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                 Case No: 15-41732                                                                                                                  Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                                   Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                                   Separate bond (if applicable): 2,750,000.00

    1                   2                           3                                              4                                                   5                        6                   7
                                                                                                                                 Uniform
Transaction         Check or                                                                                                      Trans.                                                        Account/ CD
   Date             [Refer#]            Paid To / Received From                      Description of Transaction                   Code            Deposits($)       Disbursements($)             Balance($)
12/08/2016           52009      Texas Comptroller                          FEIN 75-15497976                                      5800-000                                         8,270.12        2,702,774.61
                                PO Box 149348
                                Austin, TX 78714-9348

01/03/2017                      Texas Capital Bank                         Bank Service Fee                                      2600-000                                         2,783.83        2,699,990.78
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

01/04/2017           52010      Anderson & Levine, L.L.P.                  Special Counsel Fees and Expenses                                                                      3,155.48        2,696,835.30
                                14785 Preston Road
                                Suite 650
                                Dallas, TX 75254

                                                                                                                    (1,890.00)   3210-600

                                                                                                                    (1,265.48)   3220-610

01/12/2017           52011      Security Self Storage                      Unit T-02 January Storage Unit Rental                 2420-000                                           208.00        2,696,627.30
                                8600 Spring Valley
                                Dallas , Texas 75240

02/03/2017                      Texas Capital Bank                         Bank Service Fee                                      2600-000                                         2,772.52        2,693,854.78
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

02/08/2017           52012      SECURITY SELF STORAGE                      Unit T-02 February Storage Unit Rental                2420-000                                           209.00        2,693,645.78
                                8600 Spring Valley
                                Dallas , TX 75240

                                                                                                                            Page Subtotals                  0.00                17,398.95



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                 Case No: 15-41732                                                                                                         Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                          Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                          Separate bond (if applicable): 2,750,000.00

    1                   2                              3                                            4                                         5                        6                   7
                                                                                                                       Uniform
Transaction         Check or                                                                                            Trans.                                                         Account/ CD
   Date             [Refer#]             Paid To / Received From                      Description of Transaction        Code             Deposits($)       Disbursements($)             Balance($)
02/28/2017           52013      United States Bankruptcy Court Clerk     Adversary Filing Fee 17-4011                  2700-000                                            350.00        2,693,295.78
                                660 North Central Expressway, Suite 300B
                                Plano, TX 75074

03/03/2017                      Texas Capital Bank                         Bank Service Fee                            2600-000                                          2,767.75        2,690,528.03
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

03/09/2017            [24]      State of California                        2015 Tax Refund                             1224-000                   621.35                                 2,691,149.38


03/09/2017            [25]      Fidelity Investments                       401K Excess Proceeds                        1229-000               29,964.21                                  2,721,113.59


03/09/2017           52014      SECURITY SELF STORAGE                      Unit T-02 March Storage Unit Rental         2420-000                                            209.00        2,720,904.59
                                8600 Spring Valley
                                Dallas , TX 75240

04/03/2017                      Texas Capital Bank                         Bank Service Fee                            2600-000                                          2,787.61        2,718,116.98
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

04/10/2017           52015      SECURITY SELF STORAGE                      Unit T-02 April Storage Unit Rental         2420-000                                            209.00        2,717,907.98
                                8600 Spring Valley
                                Dallas , TX 75240

                                                                                                                   Page Subtotals             30,585.56                  6,323.36




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                 Case No: 15-41732                                                                                                           Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                            Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                            Separate bond (if applicable): 2,750,000.00

    1                   2                          3                                             4                                              5                        6                   7
                                                                                                                         Uniform
Transaction         Check or                                                                                              Trans.                                                         Account/ CD
   Date             [Refer#]            Paid To / Received From                    Description of Transaction             Code             Deposits($)       Disbursements($)             Balance($)
05/03/2017                      Texas Capital Bank                       Bank Service Fee                                2600-000                                          2,792.68        2,715,115.30
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

05/08/2017           52016      SECURITY SELF STORAGE                    Unit T-02 May Storage Unit Rental               2420-000                                            209.00        2,714,906.30
                                8600 Spring Valley
                                Dallas , TX 75240

05/24/2017           52017      SECURITY SELF STORAGE                    Unit T-02 June Storage Unit Rental              2420-000                                            219.00        2,714,687.30
                                8600 Spring Valley
                                Dallas , TX 75240

05/30/2017           52018      DIGITAL DISCOVERY                        Project #20151010-WIC                           2420-000                                        15,000.00         2,699,687.30
                                8131 LBJ Freeway, Suite 325
                                Dallas , TX 75251

06/05/2017                      Texas Capital Bank                       Bank Service Fee                                2600-000                                          2,789.56        2,696,897.74
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

07/03/2017                      Texas Capital Bank                       Bank Service Fee                                2600-000                                          2,773.74        2,694,124.00
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

07/18/2017            [15]      Shattuck LLC                             Sale of Remaining Chips and File Cabinets       1129-000                   385.00                                 2,694,509.00


                                                                                                                     Page Subtotals                 385.00               23,783.98




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                 Case No: 15-41732                                                                                                        Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                             Bank Name: Texas Capital Bank
                                                                                                                                   Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                         Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                         Separate bond (if applicable): 2,750,000.00

    1                   2                           3                                            4                                           5                        6                   7
                                                                                                                      Uniform
Transaction         Check or                                                                                           Trans.                                                         Account/ CD
   Date             [Refer#]            Paid To / Received From                    Description of Transaction          Code             Deposits($)       Disbursements($)             Balance($)
08/03/2017                      Texas Capital Bank                       Bank Service Fee                             2600-000                                          2,768.30        2,691,740.70
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

08/14/2017           52019      INTERNATIONAL SURETIES, LTD.             Trustee Bond #016067632                      2300-000                                          6,875.00        2,684,865.70
                                701 Poydras Street, Suite 420
                                New Orleans , LA 70139

08/18/2017            [26]      Security Self Storage                    Storage Unit Deposit Refund                  1229-000                   20.00                                  2,684,885.70


09/05/2017                      Texas Capital Bank                       Bank Service Fee                             2600-000                                          2,763.17        2,682,122.53
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

10/04/2017                      Texas Capital Bank                       Bank Service Fee                             2600-000                                          2,755.98        2,679,366.55
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

11/03/2017                      Texas Capital Bank                       Bank Service Fee                             2600-000                                          2,753.05        2,676,613.50
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

11/29/2017           52020      Premier Pension Solutions, LLC           Fee to administer 401K retirement plan       3991-000                                          2,000.00        2,674,613.50
                                P.O. Box 7247
                                Waco, TX 76714

                                                                                                                  Page Subtotals                 20.00                19,915.50



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                 Case No: 15-41732                                                                                                                Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                                 Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                                 Separate bond (if applicable): 2,750,000.00

    1                   2                            3                                              4                                                5                        6                   7
                                                                                                                               Uniform
Transaction         Check or                                                                                                    Trans.                                                        Account/ CD
   Date             [Refer#]             Paid To / Received From                     Description of Transaction                 Code            Deposits($)       Disbursements($)             Balance($)
12/04/2017                      Texas Capital Bank                         Bank Service Fee                                    2600-000                                         2,750.13        2,671,863.37
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

12/05/2017            [27]      Oak Point Partners Inc                     Sale of Remnant Assets                              1229-000              40,000.00                                  2,711,863.37


01/03/2018                      Texas Capital Bank                         Bank Service Fee                                    2600-000                                         2,782.39        2,709,080.98
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

01/09/2018           52021      DIGITAL DISCOVERY                          Invoice # 2522, 3128, 3180, 3159, 3248, 3311        2420-000                                       24,510.41         2,684,570.57
                                8131 LBJ Freeway, Suite 325
                                Dallas , TX 75251

02/05/2018                      Texas Capital Bank                         Bank Service Fee                                    2600-000                                         2,772.11        2,681,798.46
                                Treasury Management Operations
                                2350 Lakeside Blvd
                                Richardson, TX 75082

02/07/2018           52022      Lain, Faulkner & Co., P.C.                 Accountant for Trustee Fees & Expenses                                                             54,423.77         2,627,374.69
                                400 N. St. Paul Street, Suite 600
                                Dallas, TX 75201

                                                                           Accountant for Trustee Fees          (54,020.50)    3410-000
                                                                           Accountant for Trustee
                                                                                                                    (403.27)   3420-000
                                                                           Expenses

                                                                                                                          Page Subtotals             40,000.00                87,238.81




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                                       Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                            Bank Name: Texas Capital Bank
                                                                                                                                                  Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                                        Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                                        Separate bond (if applicable): 2,750,000.00

    1                   2                            3                                               4                                                      5                        6                    7
                                                                                                                                     Uniform
Transaction         Check or                                                                                                          Trans.                                                          Account/ CD
   Date             [Refer#]            Paid To / Received From                        Description of Transaction                     Code             Deposits($)       Disbursements($)              Balance($)
03/20/2018            [28]      Cleveland Scott York                        Refund of Patent Examination Fee                         1229-000                4,767.84                                   2,632,142.53
                                                                            (original transaction in pounds to be converted to
                                                                            dollars by bank)

03/20/2018                      Texas Capital Bank                          Bank Conversion Fee                                      2600-000                                             20.00         2,632,122.53


03/20/2018            [28]      Cleveland Scott York                        Refund of Patent Examination Fee                         1229-000               (4,767.84)                                  2,627,354.69
                                                                            (original transaction in pounds to be converted to
                                                                            dollars by bank)

03/21/2018                      Texas Capital Bank                          Bank Conversion Fee                                      2600-000                                            (20.00)        2,627,374.69


03/21/2018            [28]      Cleveland Scott York                        Refund of Patent Examination Fee                         1229-000                6,514.30                                   2,633,888.99
                                                                            (original transaction in pounds converted to dollars
                                                                            by bank)

03/29/2018           52023      Mark A. Weisbart                            Attorney for Trustee Fees & Expenses                                                                 228,338.84             2,405,550.15
                                12770 Coit Road, Suite 541
                                Dallas , TX 75251

                                                                            Attorney for Trustee Fees            (211,425.00)        3110-000
                                                                            Attorney for Trustee
                                                                                                                   (16,913.84)       3120-000
                                                                            Expenses

                                                                                                                                 Page Subtotals              6,514.30            228,338.84




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 15-41732                                                                                                              Trustee Name: Mark A. Weisbart
              Case Name: INTERPHASE CORPORATION                                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******0047 Checking Account
       Taxpayer ID No: **-***9797                                                                                               Blanket bond (per case limit): 300,000.00
     For Period Ending: 4/11/2018                                                                                               Separate bond (if applicable): 2,750,000.00

    1                    2                            3                                            4                                               5                        6                  7
                                                                                                                             Uniform
Transaction          Check or                                                                                                 Trans.                                                      Account/ CD
   Date              [Refer#]               Paid To / Received From                    Description of Transaction             Code            Deposits($)       Disbursements($)           Balance($)

                                                                                                                        Page Subtotals


                                                                                                 COLUMN TOTALS                                  2,823,738.46            418,188.31
                                                                                                          Less:Bank Transfer/CD's               2,111,604.42                    0.00
                                                                                                 SUBTOTALS                                        712,134.04            418,188.31

                                                                                                        Less: Payments to Debtors                                               0.00
                                                                                                 Net                                              712,134.04            418,188.31


                                                                                          TOTAL-ALL ACCOUNTS                                       NET                  NET                ACCOUNT
                    All Accounts Gross Receipts:          3,057,373.00                                                                           DEPOSITS          DISBURSEMENTS           BALANCE

              All Accounts Gross Disbursements:            651,822.85
                                                                                          ******3101 Checking Account                           2,345,238.96            233,634.54
                                All Accounts Net:         2,405,550.15
                                                                                          ******0047 Checking Account                             712,134.04            418,188.31

                                                                                          Net Totals                                            3,057,373.00            651,822.85        2,405,550.15




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  Case: 15-41732                                                                                                                     Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                             CLAIMS REGISTER
                                                                                                                                      EXHIBIT C Page 1
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                  UTC         Scheduled             Claimed           Allowed             Paid                Balance

           Mark Weisbart                          2100               0.00         87,428.28         87,428.28             0.00              87,428.28
           12770 Coit Road
           Suite 541
           Dallas, TX 75251
           Mark Weisbart                          2200               0.00               0.00         6,228.48             0.00               6,228.48
           12770 Coit Road
           Suite 541
           Dallas, TX 75251
           International Sureties, LTD.           2300               0.00         19,426.00         19,426.00        19,426.00                   0.00
           701 Poydras Street, Suite 420
           New Orleans , LA 70139
           DENLEY INVESTMENT AND                  2410               0.00         53,331.69         53,331.69        53,331.69                   0.00
           5550 LBJ Freeway, Suite 300
           Dallas , TX 75240
          Filed: 03/15/16
           ATMOS ENERGY                           2420               0.00            763.88            763.88           763.88                   0.00


           BUEHLER TRANSFER &                     2420               0.00            330.00            330.00           330.00                   0.00
           633 Mony Street
           Ft Worth , TX 76102
           BUEHLER TRANSFER &                     2420               0.00          1,320.00          1,320.00         1,320.00                   0.00
           633 Mony Street
           Fort Worth , TX 76102
          Filed: 03/15/16
           CIRRO ENERGY                           2420               0.00         20,710.33         20,710.33        20,710.33                   0.00
           U.S. Retailers, LLC
           PO Box 660004
           Dallas , TX 75266-0004
          Filed: 10/30/15
          Electricity at Premises
           COVERALL OF DALLAS/FT.                 2420               0.00            811.88            811.88           811.88                   0.00
           9101 LBJ Frwy #700
           Dallas , TX 75243
           CUT 2 SHREDS                           2420               0.00          3,140.00          3,140.00         3,140.00                   0.00
           6315 Linden Lane
           Dallas , TX 75230




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  Case: 15-41732                                                                                                                      Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                              CLAIMS REGISTER
                                                                                                                                       EXHIBIT C Page 2
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                  UTC         Scheduled             Claimed           Allowed              Paid                Balance

           DALLAS SECURITY SYSTEMS,               2420               0.00               0.00             0.00              0.00                   0.00
           PO Box 550939
           Dallas , TX 75355-0939
           Digital Discovery                      2420               0.00         96,010.41         96,010.41         96,010.41                   0.00
           8131 LBJ Freeway, Suite 325
           Dallas , TX 75251
          Filed: 11/10/15
           Mark A. Weisbart                       2420               0.00          2,095.54          2,095.54          2,095.54                   0.00
           12770 Coit Road, Suite 541
           Dallas , TX 75251
          Filed: 03/15/16
           PROGRESSIVE WASTE                      2420               0.00            768.59            768.59            768.59                   0.00
           PO Box 650592
           Dallas , TX 75265-0592
           SALSMAN, RODGER                        2420               0.00            100.00            100.00            100.00                   0.00
           1505 Golden Gate Dr
           Carrollton , TX 75007
           SECURITY SELF STORAGE                  2420               0.00          3,135.00          3,135.00          3,135.00                   0.00
           8600 Spring Valley
           Dallas , TX 75240
           United States Bankruptcy       2700                       0.00            350.00            350.00            350.00                   0.00
           660 North Central Expressway, Suite 300B
           Plano, TX 75074
          Filed: 02/28/17
          Adversary Filing Fee 17-4011
           Mark A. Weisbart                       3110               0.00       211,425.00         211,425.00        211,425.00                   0.00
           12770 Coit Road, Suite 541
           Dallas , TX 75251
          Filed: 03/29/18
           Mark A. Weisbart                       3120               0.00         16,913.84         16,913.84         16,913.84                   0.00
           12770 Coit Road, Suite 541
           Dallas , TX 75251
          Filed: 03/29/18
           Anderson & Levine, L.L.P.              3210               0.00          4,200.00          4,200.00          4,200.00                   0.00
           14902 Preston Road
           Suite 404-506
           Dallas, TX 75254




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  Case: 15-41732                                                                                                                      Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                              CLAIMS REGISTER
                                                                                                                                       EXHIBIT C Page 3
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                  UTC         Scheduled             Claimed           Allowed              Paid                Balance

           Anderson & Levine, L.L.P.              3220               0.00          4,503.85          4,503.85          4,503.85                   0.00
           14902 Preston Road
           Suite 404-506
           Dallas, TX 75254
           EXPONENTHR                             3410               0.00          1,525.71          1,525.71          1,525.71                   0.00
           Attn: Accounts Receivable
           4970 Landmark Place
           Dallas , TX 75254
           Lain, Faulkner & Co., P.C.        3410                    0.00         54,020.50         54,020.50         54,020.50                   0.00
           400 N. St. Paul Street, Suite 600
           Dallas, TX 75201
          Filed: 02/07/18
           Lain, Faulkner & Co., P.C.        3420                    0.00            403.27            403.27            403.27                   0.00
           400 N. St. Paul Street, Suite 600
           Dallas, TX 75201
          Filed: 02/07/18
           Shattuck LLC                           3620               0.00         14,592.65         14,592.65         14,592.65                   0.00
           650 Canion Street
           Austin , TX 78752
          Filed: 02/26/16
           Premier Pension Solutions,             3991               0.00          2,000.00          2,000.00          2,000.00                   0.00
           P.O. Box 7247
           Waco, TX 76714
          Filed: 10/26/16
           The Garden City Group, LLC             3991               0.00         15,200.00         15,200.00              0.00              15,200.00


ADMINISTRATIVE TOTAL                                                 0.00       614,506.42         620,734.90        511,878.14             108,856.76

   15A     Jennifer J. Kosharek                   5300               0.00         12,475.00         12,475.00              0.00              12,475.00
           658 Point Loma Dr
           Frisco, TX 75034
           Filed: 12/18/15
   16B     Yoram Solomon                          5300               0.00         12,475.00         12,475.00              0.00              12,475.00
           2700 Big Creek Ct
           Plano, TX 75093
           Filed: 01/16/16




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  Case: 15-41732                                                                                                                      Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                              CLAIMS REGISTER
                                                                                                                                       EXHIBIT C Page 4
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                   UTC         Scheduled             Claimed           Allowed             Paid                Balance

           DENTON COUNTY TAX               5800       91,565.16       39,928.84         39,928.84        39,928.84                                0.00
           PO Box 90223
           Denton , TX 76202
           Filed: 04/26/16
           paid per order docket #88 entered 04/26/16(payment amount is the Lewisville ISD portion per tax notice and confirmed
           verbally w/George Scherer @ Robert Luna Law Office 4/27/16)
           Texas Comptroller                       5800               0.00          8,270.12          8,270.12         8,270.12                   0.00
           PO Box 149348
           Austin, TX 78714-9348
    01     DENTON COUNTY TAX               5800           0.00        7,296.66         7,296.66        7,296.66                0.00
           P.O. Box 1269
           Round Rock , TX 78680-1269
           Filed: 10/02/15
           paid per order docket #88 entered 04/26/16(payment amount is per Lee Gordon email 4/26/16)05/26/16 claim withdrawn after
           payment
    05     CITY OF CARROLLTON              5800           0.00      17,234.19          17,234.19      17,234.19                0.00
           2777 N. Stemmons Freeway, Suite 1000
           Dallas , TX 75207
           Filed: 12/02/15
           paid per order docket #88 entered 04/26/16(payment amount is per Laurie Huffman email 4/26/16)05/18/16 claim withdrawn
           after payment
    06     Illinois Secretary of State             5800               0.00       123,143.40         123,143.40             0.00             123,143.40
           350 Howlett Building
           Springfield, IL 62756
           Filed: 12/03/15
    17     Bankruptcy Section MS A340              5800               0.00            822.02            822.02             0.00                 822.02
           PO Box 2952
           Sacramento, CA 95812
           Filed: 01/11/16
   20A     Texas Comptroller of Public     5800                       0.00          2,801.70          2,801.70             0.00               2,801.70
           Revenue Accounting Division - Attn: Bankruptcy
           PO Box 13528
           Austin, TX 78711
           Filed: 01/22/16
    21     Texas Comptroller of Public     5800                       0.00            692.66            692.66             0.00                 692.66
           Revenue Accounting Division - Attn: Bankruptcy
           PO Box 13528
           Austin, TX 78711
           Filed: 01/22/16



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  Case: 15-41732                                                                                                                     Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                             CLAIMS REGISTER
                                                                                                                                      EXHIBIT C Page 5
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                  UTC         Scheduled             Claimed           Allowed             Paid                Balance

    32     State Of California                    5800               0.00          2,684.43              0.00             0.00                   0.00
           Bankruptcy Section MS A340
           Franchise Tax Board
           PO Box 2952
           Sacramento, CA 95812
           Filed: 02/29/16
           Disallowed 3/20/18
    34     Massachusetts Department               5800               0.00             59.36             59.36             0.00                  59.36
           Bankruptcy Unit
           PO Box 9564
           Boston, MA 02114
           Filed: 05/09/16
   36A     Washington State                       5800               0.00            280.94            280.94             0.00                 280.94
           Bankruptcy Unit
           PO Box 44171
           Olympia, WA 98504
           Filed: 05/17/16
    38     State of Florida - Department          5800               0.00            936.45            936.45             0.00                 936.45
           Bankruptcy Section
           PO Box 6668
           Tallahassee, FL 32314-6668
           Filed: 06/15/16
PRIORITY TOTAL                                                91,565.16         229,100.77         226,416.34        72,729.81             153,686.53

    02    Future Electronics c/o Diane            7100        64,454.39           63,978.89         63,978.89             0.00              63,978.89
          41 Main St
          Bolton, MA 01740
          Filed: 11/10/15
    03    B.E. Capital Management                 7100               0.00          1,300.00          1,300.00             0.00               1,300.00
          205 E 42nd St, 14th Floor
          New York, NY 10017
          Filed: 11/23/15
    04    Anydata Corporation                     7100               0.00               0.00             0.00             0.00                   0.00
          5 Oldfield
          Irvine, CA 92618
          Filed: 11/23/15
          claim withdrawn




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  Case: 15-41732                                                                                                                    Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                            CLAIMS REGISTER
                                                                                                                                     EXHIBIT C Page 6
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                  UTC        Scheduled             Claimed           Allowed             Paid                Balance

    07     Computershare Trust Co. Inc.     7100           688.99                 1,291.67          1,291.67             0.00               1,291.67
           100 University Ave, 8th Fl
           Toronto, ON MSJ 241,
           Filed: 12/07/15
    08     Digi-Key Corporation             7100        20,568.03                20,581.18         20,581.18             0.00              20,581.18
           PO Box 677
           Thief River Falls, MN 56701
           Filed: 12/08/15
    09     Internal Revenue Service         7100             0.00                      0.00             0.00             0.00                   0.00
           P.O. Box 7317
           Philadelphia, PA 19101-7317
           Filed: 12/09/15
    10     GECITS - Bankruptcy              7100             0.00                 3,670.47          3,670.47             0.00               3,670.47
           PO Box 538193
           Atlanta, GA 30353
           Filed: 12/14/15
    11     Avnet, Inc.                      7100      156,102.46               158,163.56         158,163.56             0.00             158,163.56
           5400 Prairie Stone Pkwy
           Hoffman Estates, IL 60192
           Filed: 12/14/15
    12     Finnish Tax Administration       7100             0.00                 7,522.00          7,522.00             0.00               7,522.00
           Collection and Recovery Unit of Southern Finland
           P.O. Box 6002
           FI-0052-Vero
           Finland,
           Filed: 12/14/15
    13     FedEx TechConnect, Inc.          7100             7.64                 1,749.14          1,749.14             0.00               1,749.14
           3965 Airways Blvd. Module G, 3rd Floor
           Memphis, 38116-5017
           Filed: 12/16/15
    14     Gregory B. Kalush                7100    1,023,750.00               375,183.36         375,183.36             0.00             375,183.36
           2402 Danbury Dr
           Colleyville, TX 76034
           Filed: 12/16/15
   15B     Jennifer J. Kosharek             7100      250,000.00               202,525.00         202,525.00             0.00             202,525.00
           658 Point Loma Dr
           Frisco, TX 75034
           Filed: 12/18/15




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  Case: 15-41732                                                                                                                     Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                             CLAIMS REGISTER
                                                                                                                                      EXHIBIT C Page 7
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                  UTC         Scheduled             Claimed           Allowed             Paid                Balance

   16A    Yoram Solomon                           7100       125,000.00         123,702.00         123,702.00             0.00             123,702.00
          2700 Big Creek Ct
          Plano, TX 75093
          Filed: 01/11/16
    18    VL Capital Management LLC               7100               0.00          2,600.00          2,600.00             0.00               2,600.00
          319 West 101st St
          Apartment 5
          New York, NY 10025
          Filed: 01/11/16
    19    James C Poole, Jr                       7100               0.00               0.00             0.00             0.00                   0.00
          8136 Westlakes Place
          Montgomery, AL 36117
          Filed: 01/20/16
          claim stricken
   20B     Texas Comptroller of Public    7100                       0.00            170.78            170.78             0.00                 170.78
           Revenue Accounting Division
           Attention: Bankruptcy
           PO Box 13528
           Austin, TX 78711-3528
           Filed: 01/22/16
    22     Level 3 Communications         7100                       0.00            246.14            246.14             0.00                 246.14
           Legal Dept. Bky
           1025 Eldorado Blvd
           Broomfield, CO 80021
           Filed: 02/04/16
    23     Arrow Electronics Inc.         7100                  8,177.08           7,882.08          7,882.08             0.00               7,882.08
           c/o NAC Risk Recovery
           9201 E Dry Creek Rd
           Englewood, CO 80112
           Filed: 02/05/16
    24     Genband US LLC                 7100                  4,050.00           8,550.00          8,550.00             0.00               8,550.00
           Attn: Charlie Raphun, AGC
           5927 South Miami Boulevard, Suite 150
           Morrisville, NC 27560
           Filed: 02/08/16
    25     Marlin Business Bank           7100                       0.00         10,952.25         10,952.25             0.00              10,952.25
           300 Fellowship Rd
           Mount Laurel, NJ 08054
           Filed: 02/08/16




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  Case: 15-41732                                                                                                                    Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                            CLAIMS REGISTER
                                                                                                                                     EXHIBIT C Page 8
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                  UTC        Scheduled             Claimed           Allowed             Paid                Balance

    26     Marlin Business Bank            7100           0.00                   43,498.39         43,498.39             0.00              43,498.39
           300 Fellowship Rd
           Mount Laurel, NJ 08054
           Filed: 02/08/16
    27     SAP America, Inc.               7100           0.00                    7,818.36          7,818.36             0.00               7,818.36
           c/o Brown & Connery, LLP (Donald K. Ludman)
           6 N Broad Street
           Woodbury, NJ 08096
           Filed: 02/10/16
    28     Alcatel-Lucent International    7100      11,499.98                   14,200.00         14,200.00             0.00              14,200.00
           c/o William Hagerman
           1960 Lucent Lane
           Naperville, IL 60563
           Filed: 02/12/16
    29     CBT Technology Inc.             7200           0.00                    3,675.00          3,675.00             0.00               3,675.00
           Atrenne Computing Solutions
           10 Mupac Dr
           Brockton, MA 02301
           Filed: 02/17/16
    30     B.E. Capital Management         7200           0.00                    2,199.11          2,199.11             0.00               2,199.11
           205 E 42nd St, 14th Floor
           New York, NY 10017
           Filed: 02/19/16
    31     Rimini Street, Inc.             7200           0.00                 125,544.00         125,544.00             0.00             125,544.00
           Attn: Daniel B. Winslow
           6601 Koll Center Parkway, Suite 300
           Pleasanton, CA 94566
           Filed: 02/19/16
    33     TTI, Inc.                       7200         416.00                      416.00            416.00             0.00                 416.00
           2441 Northeast Pkwy
           Fort Worth, TX 76106
           Filed: 03/21/16
    35     Department Of Health and        7200           0.00                    4,102.99          4,102.99             0.00               4,102.99
           CMS - Division of Account Operatings
           PO Box 7520, Mail Stop C3-11-03
           Baltimore, MD 21207
           Filed: 05/17/16
   36B     Washington State                7200           0.00                       29.79             29.79             0.00                  29.79
           Bankruptcy Unit
           PO Box 44171
           Olympia, WA 98504
           Filed: 05/17/16

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  Case: 15-41732                                                                                                                     Mark A. Weisbart
  INTERPHASE CORPORATION                                                                                                             CLAIMS REGISTER
                                                                                                                                      EXHIBIT C Page 9
  Claims Bar Date: 02/16/16         Government Bar Date: 05/16/16

  Claim
   No. Creditors                                  UTC        Scheduled             Claimed           Allowed              Paid                Balance

    37     Ernst And Young Societe        7200               0.00                 3,020.17          3,020.17              0.00               3,020.17
           Tour First - TSA 14444
           Paris-La Defense, FR 92037,
           Filed: 05/19/16
    39     Uusimaa ELY Centre P.O. Box    7200               0.00                18,572.88         18,572.88              0.00              18,572.88
           Uusimaa ELY Centre P.O. Box 54 Fl-00521 Helsinki Finland

       Filed: 09/15/16
  9999 The Garden City Group           8200                0.00      918,097.18                   918,097.18              0.00             918,097.18
       *proposed record date of distribution of surplus is June 1, 2018

UNSECURED TOTAL                                           1,664,714.57       2,131,242.39       2,131,242.39              0.00           2,131,242.39




REPORT TOTALS                                             1,756,279.73       2,974,849.58       2,978,393.63        584,607.95           2,393,785.68




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                                                      TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                                 Exhibit D

Case No.: 15-41732
Case Name: INTERPHASE CORPORATION

Trustee Name: Mark A. Weisbart
                     Balance on Hand                                                                                                 $2,405,550.15
Claims of secured creditors will be paid as follows:

                                                                         NONE

         Applications for chapter 7 fees and administrative expenses have been filed as follows:


                                                                                                             Interim
                                                                                                            Payments                 Proposed
                             Reason/Applicant                                      Total Requested           to Date                 Payment
Trustee, Fees: Mark Weisbart                                                      $        87,428.28 $                  0.00 $          87,428.28
Trustee, Expenses: Mark Weisbart                                                  $            6,228.48 $               0.00 $           6,228.48
Attorney for Trustee, Fees: Mark A. Weisbart                                      $       211,425.00 $         211,425.00 $                  0.00
Attorney for Trustee, Expenses: Mark A. Weisbart                                  $        16,913.84 $          16,913.84 $                  0.00
Accountant for Trustee, Fees: EXPONENTHR                                          $            1,525.71 $           1,525.71 $               0.00
Accountant for Trustee, Expenses: Lain, Faulkner & Co., P.C.                      $             403.27 $             403.27 $                0.00
Auctioneer, Expenses: Shattuck LLC                                                $        14,592.65 $          14,592.65 $                  0.00
Charges: U.S. Bankruptcy Court                                                    $             350.00 $             350.00 $                0.00
Other: Anderson & Levine, L.L.P.                                                  $            4,200.00 $           4,200.00 $               0.00
Other: Anderson & Levine, L.L.P.                                                  $            4,503.85 $           4,503.85 $               0.00
Other: Lain, Faulkner & Co., P.C.                                                 $        54,020.50 $          54,020.50 $                  0.00
Other: International Sureties, LTD.                                               $        19,426.00 $          19,426.00 $                  0.00
Other: DENLEY INVESTMENT AND MANAGEMENT CO                                        $        53,331.69 $          53,331.69 $                  0.00
Other: ATMOS ENERGY CORPORATION                                                   $             763.88 $             763.88 $                0.00
Other: BUEHLER TRANSFER & STORAGE                                                 $             330.00 $             330.00 $                0.00
Other: BUEHLER TRANSFER & STORAGE                                                 $            1,320.00 $           1,320.00 $               0.00
Other: CIRRO ENERGY                                                               $        20,710.33 $          20,710.33 $                  0.00
Other: COVERALL OF DALLAS/FT. WORTH                                               $             811.88 $             811.88 $                0.00
Other: CUT 2 SHREDS                                                               $            3,140.00 $           3,140.00 $               0.00
Other: Digital Discovery                                                          $        96,010.41 $          96,010.41 $                  0.00
Other: Mark A. Weisbart                                                           $            2,095.54 $           2,095.54 $               0.00
Other: PROGRESSIVE WASTE SOLUTIONS OF TX,                                         $             768.59 $             768.59 $                0.00
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                                                                                                              Interim
                                                                                                             Payments                Proposed
                             Reason/Applicant                                      Total Requested            to Date                Payment
Other: SALSMAN, RODGER                                                            $              100.00 $            100.00 $                0.00
Other: SECURITY SELF STORAGE                                                      $            3,135.00 $           3,135.00 $               0.00
Other: Premier Pension Solutions, LLC                                             $            2,000.00 $           2,000.00 $               0.00
Other: The Garden City Group, LLC                                                 $        15,200.00 $                  0.00 $          15,200.00

Total to be paid for chapter 7 administrative expenses                                                                       $         108,856.76
Remaining Balance                                                                                                            $        2,296,693.39

         Applications for prior chapter fees and administrative expenses have been filed as follows:
                                                                          NONE
      In addition to the expenses of administration listed above as may be allowed by the Court, priority claims totaling
$153,686.53 must be paid in advance of any dividend to general (unsecured) creditors.
         Allowed Priority Claims are:



   Claim                                                            Allowed Amount of Interim Payments to
    No.        Claimant                                                   Claim               Date                         Proposed Payment
              DENTON COUNTY TAX ASSESSOR-                          $            39,928.84 $                 39,928.84 $                      0.00
              Texas Comptroller                                    $             8,270.12 $                  8,270.12 $                      0.00
01            DENTON COUNTY TAX ASSESSOR-                          $             7,296.66 $                  7,296.66 $                      0.00
05            CITY OF CARROLLTON                                   $            17,234.19 $                 17,234.19 $                      0.00
06            Illinois Secretary of State Dept of                  $           123,143.40 $                     0.00 $                123,143.40
15A           Jennifer J. Kosharek                                 $            12,475.00 $                     0.00 $                  12,475.00
16B           Yoram Solomon                                        $            12,475.00 $                     0.00 $                  12,475.00
17            Bankruptcy Section MS A340 Franchise $                                  822.02 $                  0.00 $                    822.02
20A           Texas Comptroller of Public Accounts                 $             2,801.70 $                     0.00 $                   2,801.70
21            Texas Comptroller of Public Accounts                 $                  692.66 $                  0.00 $                    692.66
34            Massachusetts Department of                          $                   59.36 $                  0.00 $                      59.36
36A           Washington State Department of                       $                  280.94 $                  0.00 $                    280.94
38            State of Florida - Department of                     $                  936.45 $                  0.00 $                    936.45

Total to be paid to priority creditors                                                                                 $              153,686.53

Remaining Balance                                                                                                      $             2,143,006.86

       The actual distribution to wage claimants included above, if any, will be the proposed payment less applicable
withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $1,055,585.27 have been allowed and will be paid pro rata
only after all allowed administrative and priority claims have been paid in full. The timely allowed general (unsecured)
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dividend is anticipated to be 100.0 %, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:


                                                                          Allowed
   Claim                                                                 Amount of             Interim Payments              Proposed
    No.        Claimant                                                    Claim                     to Date                 Payment
02            Future Electronics c/o Diane Svendsen $                          63,978.89 $                    0.00 $                  63,978.89
03            B.E. Capital Management Fund LP                      $             1,300.00 $                   0.00 $                   1,300.00
07            Computershare Trust Co. Inc.                         $             1,291.67 $                   0.00 $                   1,291.67
08            Digi-Key Corporation                                 $           20,581.18 $                    0.00 $                  20,581.18
10            GECITS - Bankruptcy                                  $             3,670.47 $                   0.00 $                   3,670.47
11            Avnet, Inc.                                          $          158,163.56 $                    0.00 $                 158,163.56
12            Finnish Tax Administration                           $             7,522.00 $                   0.00 $                   7,522.00
13            FedEx TechConnect, Inc.                              $             1,749.14 $                   0.00 $                   1,749.14
14            Gregory B. Kalush                                    $          375,183.36 $                    0.00 $                 375,183.36
15B           Jennifer J. Kosharek                                 $          202,525.00 $                    0.00 $                 202,525.00
16A           Yoram Solomon                                        $          123,702.00 $                    0.00 $                 123,702.00
18            VL Capital Management LLC                            $             2,600.00 $                   0.00 $                   2,600.00
20B           Texas Comptroller of Public Accounts                 $               170.78 $                   0.00 $                     170.78
22            Level 3 Communications                               $               246.14 $                   0.00 $                     246.14
23            Arrow Electronics Inc.                               $             7,882.08 $                   0.00 $                   7,882.08
24            Genband US LLC                                       $             8,550.00 $                   0.00 $                   8,550.00
25            Marlin Business Bank                                 $           10,952.25 $                    0.00 $                  10,952.25
26            Marlin Business Bank                                 $           43,498.39 $                    0.00 $                  43,498.39
27            SAP America, Inc.                                    $             7,818.36 $                   0.00 $                   7,818.36
28            Alcatel-Lucent International                         $           14,200.00 $                    0.00 $                  14,200.00

Total to be paid to timely general unsecured creditors                                                              $               1,055,585.27

Remaining Balance                                                                                                   $               1,087,421.59


         Tardily filed claims of general (unsecured) creditors totaling $157,559.94 have been allowed and will be paid pro
rata only after all allowed administrative, priority and timely filed general (unsecured) claims have been paid in full. The
tardily filed claim dividend is anticipated to be 100.0 %, plus interest (if applicable).

         Tardily filed general (unsecured) claims are as follows:




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                                                                           Allowed
   Claim                                                                  Amount of            Interim Payments to            Proposed
    No.        Claimant                                                     Claim                      Date                   Payment
29            CBT Technology Inc.                                  $             3,675.00 $                     0.00 $                3,675.00
30            B.E. Capital Management Fund LP                      $             2,199.11 $                     0.00 $                2,199.11
31            Rimini Street, Inc.                                  $           125,544.00 $                     0.00 $              125,544.00
33            TTI, Inc.                                            $                416.00 $                    0.00 $                 416.00
35            Department Of Health and Human                       $             4,102.99 $                     0.00 $                4,102.99
36B           Washington State Department of                       $                 29.79 $                    0.00 $                   29.79
37            Ernst And Young Societe D'Avocoats                   $             3,020.17 $                     0.00 $                3,020.17
39            Uusimaa ELY Centre P.O. Box 54 Fl-                   $            18,572.88 $                     0.00 $               18,572.88
Total to be paid to tardy general unsecured creditors                                                                $              157,559.94
Remaining Balance                                                                                                    $              929,861.65


        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered subordinated by
the Court totaling $0.00 have been allowed and will be paid pro rata only after all allowed administrative, priority and
general (unsecured) claims have been paid in full. The dividend for subordinated unsecured claims is anticipated to be
0.0 %, plus interest (if applicable).
       Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered subordinated by
the Court are as follows:
                                                                         NONE

       To the extent funds remain after payment in full of all allowed claims, interest will be paid at the legal rate of
0.34% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $11,764.47. The amounts proposed for payment
to each claimant, listed above, shall be increased to include the applicable interest

         The amount of surplus returned to the debtor after payment of all claims and interest is $918,097.18.




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